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         In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                            No. 15-1577V
                                         Filed: July 21, 2016
                                         Not to be Published


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                                *
HOPE DOUCET, on behalf of       *
her deceased minor child, A.C., *
                                *
       Petitioner,              *                             Petitioner’s Motion for a
                                *                             Decision Dismissing the Petition;
               v.               *                             Insufficient Proof of Causation; Vaccine
                                *                             Act Entitlement; Denial Without Hearing
SECRETARY OF HEALTH AND         *
HUMAN SERVICES,                 *
                                *
       Respondent.              *
                                *
*************************


                                                  DECISION


        On December 28, 2015, Petitioner filed a Petition for Vaccine Compensation in the
National Vaccine Injury Compensation Program (“the Program”),1 alleging that an adverse
reaction to various vaccinations caused the death of A.C. The information in the record,
however, does not show entitlement to an award under the Program.

       On July 21, 2016, Petitioner moved for a decision dismissing her petition,
acknowledging that she will be unable to prove she is entitled to compensation in the Program.

        To receive compensation under the Program, Petitioner must prove either 1) that A.C.
suffered a “Table Injury” – i.e., an injury falling within the Vaccine Injury Table – corresponding
to one of A.C.’s vaccinations, or 2) that A.C. suffered an injury that was actually caused by a
vaccine. See §§ 300aa-13(a)(1)(A) and 300aa-11(c)(1). An examination of the record did not
uncover any evidence that A.C. suffered a “Table Injury.” Further, the record does not contain a
medical expert’s opinion or any other persuasive evidence indicating that A.C.’s death was
vaccine-caused.

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  The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100
Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-10 et seq. (hereinafter “Vaccine Act” or “the Act”). Hereafter,
individual section references will be to 42 U.S.C. § 300aa of the Act.
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        Under the Act, the petitioner may not be given a Program award based solely on the
petitioner’s claims alone. Rather, the petition must be supported by either medical records or by
the opinion of a competent physician. § 300aa-13(a)(1). In this case, because there are
insufficient medical records supporting Petitioner’s claim, a medical opinion must be offered in
support. Petitioner, however, has offered no such opinion.

       Accordingly, it is clear from the record in this case that Petitioner has failed to
demonstrate either that A.C. suffered a “Table Injury” or that A.C.’s tragic death was “actually
caused” by a vaccination. Thus, this case is dismissed for insufficient proof. The Clerk shall
enter judgment accordingly.

IT IS SO ORDERED.


                                                    s/George L. Hastings, Jr.
                                                    George L. Hastings, Jr.
                                                    Special Master
